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 6
 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )    2:08-cr-00318 LKK
                                       )
12             Plaintiff,              )    STIPULATION AND
                                       )    PROTECTIVE ORDER RE:
13        v.                           )    DISSEMINATION OF DISCOVERY
                                       )    DOCUMENTS CONTAINING
14   ELIZABETH CARRION,                )    PERSONALLY IDENTIFYING
     ANGELITO EVANGELISTA,             )    INFORMATION
15   ARTHUR EVANGELISTA, and           )
     ROMMEL ANTOLIN,                   )
16                                     )
               Defendants.             )
17                                     )
18        IT IS HEREBY STIPULATED AND AGREED among the parties and
19   their respective counsel, Russell L. Carlberg, Assistant U.S.
20   Attorney, representing plaintiff United States of America; Bruce
21   Locke, Esq., representing defendant Elizabeth Carrion; Dwight M.
22   Samuel, Esq., representing defendant Angelito Evangelista; and
23   Carl E. Larson, Esq., representing defendant Rommel Antolin, that
24   the documents provided as discovery in this case to defense
25   counsel are subject to a Protective Order.        Defendants are
26   charged with mail fraud and engaging in a monetary transaction
27   involving more than $10,000 in criminally derived property.            The
28   parties agree that discovery in this case contains “Protected



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 1   Information,” which is defined here as including victim and
 2   witness social security numbers, driver license numbers, dates of
 3   birth, addresses, telephone numbers, and email addresses.               This
 4   Protective Order extends to all documents provided in this case,
 5   including those concerning conduct not directly charged in the
 6   indictment or superseding indictment.
 7         By signing this Stipulation and Protective Order, defense
 8   counsel agree not to share any documents that contain Protected
 9   Information with anyone other than defense counsel and their
10   designated defense investigators and support staff.           Defense
11   counsel may permit the defendants to view the documents in the
12   presence of their attorney, defense investigators and support
13   staff, so long as defense counsel, defense investigators and
14   support staff do not allow the defendants to copy Protected
15   Information contained in the discovery, and defense counsel,
16   defense investigators, and support staff do not allow the
17   defendants to retain unredacted copies of these records.
18         In the event that the defendants substitute counsel,
19   undersigned defense counsel agree to withhold documents
20   containing Protected Information from new counsel unless and
21   until substituted counsel agree also to be bound by this order.
22   DATE: June 3, 2010
23                                       /s/ Bruce Locke
                                        BRUCE LOCKE
24                                      Attorney for Elizabeth Carrion
25   ///
26   ///
27   ///
28   ///



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 1   DATE: May 24, 2010
 2                                      /s/ Dwight M. Samuel
                                       DWIGHT M. SAMUEL
 3                                     Attorney for Angelito Evangelista
 4
 5   DATE: 5-25-10
 6                                      /s/ Carl E. Larson
                                       CARL E. LARSON
 7                                     Attorney for Rommel Antolin
 8                                     (Signatures obtained by Attorney)
 9
10   DATE: May 24, 2010                BENJAMIN B. WAGNER
                                       United States Attorney
11
12
                                        /s/ Russell L. Carlberg
13                                     RUSSELL L. CARLBERG
                                       Assistant U.S. Attorney
14
15
16
17                                     ORDER
18        For good cause shown, the stipulation of counsel in criminal
19   case no. 2:08-cr-00318 LKK concerning Protected Information is
20   approved.
21        IT IS SO ORDERED:
22   DATED: June 7, 2010
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